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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES HOUSE OF
REPRESENTATIVES,

                              Plaintiff,

        v.                                                  No. 19-cv-00969 (TNM)

JANET L. YELLEN, in her official capacity as
Secretary of the Treasury, et al.,

                              Defendants.




                                   JOINT STATUS REPORT

        In accordance with the Court’s Order of February 16, 2021, Plaintiff and Defendants

submit the following joint status report addressing further proceedings in this case.

        The parties’ most recent status report (ECF No. 73) explained that the parties agreed to

stay further proceedings in these cases in light of the President’s Proclamation of January 20,

2021. See Proclamation No. 10142, 86 Fed. Reg. 7225; see also Minute Order (Feb. 16, 2021)

(granting stay). The Proclamation, inter alia, terminated the declaration of a national

emergency at the southern border, paused construction and obligation of funds for border wall

projects to the extent permitted by law, and directed various Executive Branch agencies to

develop a plan “for the redirection of funds concerning the southern border wall, as appropriate

and consistent with applicable law.” Id. at 7225–26. The Proclamation stated that the plan must

“include consideration of terminating or repurposing contracts with private contractors engaged

in wall construction, while providing for the expenditure of any funds that the Congress

expressly appropriated for wall construction, consistent with their appropriated purpose.” Id. at

7226.

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       Although the Proclamation directed that the plan be completed within 60 days of

January 20, 2021, the Executive Branch is continuing to work on developing the plan and no

final decisions have been made to resume, modify, or terminate the border wall projects

undertaken pursuant to 10 U.S.C. §§ 284 and 2808 at issue in this case. While the plan remains

in development, the pause on construction and obligation of funds for these projects, as set forth

in the Proclamation, will remain in effect.

       In light of the ongoing Executive Branch review, the parties agree that proceedings in

this case should remain stayed for an additional 28 days to allow the Defendants to continue to

develop the plan called for by the Proclamation. The parties agree to submit a joint status report

on May 13, 2021 addressing further proceedings in this case.




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Dated: April 15, 2021                             Respectfully submitted,


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